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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ANTHONY MACKAY, ARION ROBINSON,
AZIZ KHETANI, DOUG LaMARCA, JOHN              Case No. 20-1149-RGA
IRVINE, NICOLAS URQUIZA, PATRICK
ECKERT, and YE WANG, individually and on
behalf of all others similarly situated,

       Plaintiffs,

               v.

LENOVO (UNITED STATES) INC.,

       Defendant.



                   OPENING BRIEF IN SUPPORT OF
  DEFENDANT’S MOTION TO DISMISS AMENDED CLASS ACTION COMPLAINT



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I.     INTRODUCTION

       In this action, Plaintiffs seek to represent a putative nationwide class and 8 statewide

classes of purchasers of two models of Lenovo 2-in-1 laptops, only one of which Plaintiffs

actually purchased: the Flex 5.1 Plaintiffs allege they experienced issues with their laptops’

displays, all of which are covered by a widely disseminated, industry-standard express one-year

limited Warranty. Plaintiffs contend that Lenovo should have provided free out-of-warranty

repairs to fix their alleged display issues because of vague alleged misrepresentations that render

the Warranty unconscionable and give rise to consumer protection claims. Plaintiff’s claims fall

flat for several fundamental, irremediable reasons.

       First, Plaintiffs fail to satisfy Rule 9(b)’s heightened pleading standard on their fraud-

based consumer protection claims. For example, Plaintiffs do not plead with particularity when

and what statements they actually saw regarding the Flex 5 before their purchase of that

device—and how they relied on them. Instead, Plaintiffs recite vague, subjective, and

immeasurable statements that are mere nonactionable puffery.

       Second, Plaintiffs’ breach of express warranty claim similarly relies on vague allegations

of purported misrepresentations that do not even approach the required showing of facts to

establish procedural and substantive unconscionability, which is fatal to this claim.

       Third, Plaintiffs’ breach of implied warranty claim as to several State Subclasses fails

because such claim was expressly disclaimed in Lenovo’s industry-standard express warranty.

       Fourth, Plaintiffs’ unjust enrichment claim similarly fails because Plaintiffs admit



1
  This brief uses the following definitions: Defendant Lenovo (United States) Inc. (“Lenovo”);
Plaintiffs Anthony MacKay (“MacKay”), Arion Robinson (“Robinson”), Aziz Khetani
(“Khetani”), Doug LaMarca (“LaMarca”), John Irvine (“Irvine”), Nicolas Urquiza (“Urquiza”),
Patrick Eckert (“Eckert”), and Ye Wang (“Wang”) (collectively, the “Plaintiffs”); First Amended
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Lenovo’s express warranty governs and, in fact, affirm that contract by suing for its breach.

       Fifth, Plaintiffs’ claims under the California’s Song-Beverly Act fail because the

California-based plaintiff (Irvine) never notified Lenovo of his alleged display issue, nor

provided Lenovo a reasonable opportunity to repair the alleged defect, as required under the Act.

       Sixth, Plaintiffs all lack standing to pursue claims based on alleged defects in products

they admittedly did not purchase—the Yoga 730.

       Finally, Plaintiffs are already members of a nearly identical putative class in a similar

action that their own attorneys filed in October 2019 in the District of Minnesota entitled Gisairo

v. Lenovo, Case No. 19-cv-2727 (WMW/LIB) (Dist. Minn.) (“Gisairo Action”). Given the

substantial overlap in the cases, this action appears to be an attempt at forum shopping that, if

left unchecked, will waste judicial resources and could lead to inconsistent results.

       Accordingly, for these reasons and those set forth below, given that this is Plaintiffs’

second failed attempt to plead these claims, the Court should dismiss them with prejudice.

II.    FACTUAL ALLEGATIONS2

       A.      Plaintiffs Purchase Flex 5 Laptops

       Plaintiffs—who are residents of 8 different states3—purchased Lenovo’s Flex 5 laptop

from a variety of retailers. Plaintiff Urquiza purchased a used Flex 5 from Amazon, which he

describes as “Certified Refurbished,” but does not allege that Lenovo certified it. FAC ¶¶38, 99.

       Plaintiffs vaguely plead they saw some, unidentified representations about the Flex 5, but



Complaint (“FAC”); Yoga 520/Flex 5 Laptop (“Flex 5”); and Lenovo’s express one-year limited
warranty (the “Warranty”).
2
  Lenovo recites the FAC’s allegations as is required under the Rule 12(b)(6) standard, but
expressly disputes such allegations.
3
  MacKay resides in Washington; Robinson resides in Michigan; Khetani resides in Georgia;
LaMarca resides in Pennsylvania; Irvine resides in California; Urquiza resides in New York,
Eckert resides in Massachusetts; and Wang resides in New Jersey.


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consistently fail to allege when they saw such representations, where they saw them, what

specific representations they saw, how they relied on such representations, and (to the extent

their claims are based on omissions) how the representations they saw were rendered materially

misleading. Notably, some of the Plaintiffs admit that they purchased their laptops based on a

mix of factors—not simply vague representations—such as Lenovo’s “reputation” for making

“durable products,” that the Flex 5 was a “cost-effective option,” and had certain features, such

as its processor, high resolution screen, and viewing options.

       B.      Lenovo’s Limited One-Year Warranty Applicable to New Flex 5 Laptops

       The new Flex 5 laptops purchased by Plaintiffs were covered by a one-year express

limited Warranty.4 See FAC. ¶¶15, 54 n.2. The Warranty provides:

       “This Lenovo Limited Warranty applies only to Lenovo hardware products you
       purchased for your own use and not for resale.”

       “The warranty period for the product starts on the original date of purchase as shown on
       your sales receipt or invoice or as may be otherwise specified by Lenovo.”

       “Lenovo warrants that each Lenovo hardware product that you purchase is free from
       defects in materials and workmanship under normal use during the warranty period.”

       “If the product does not function as warranted during the warranty period, you may
       obtain warranty service by contacting Lenovo or a Lenovo approved Service Provider.”

       “Only unaltered Lenovo products and parts are eligible for replacement.”

       “If the Service Provider determines that it is unable to either repair or replace your
       product, your sole remedy under the Limited Warranty is to return the product to your
       place of purchase or to Lenovo for a refund of your purchase price.”

       “This warranty does not cover the following:

       ...

4
  The Court can consider the limited warranty because it is expressly incorporated by reference,
quoted,    and     linked   directly     in   the    FAC.     ¶54,    nn.    5-6    (citing   to
https://download.lenovo.com/pccbbs/thinkcentre_pdf/l505-0010-02_en_update.pdf). See Tellabs,
Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Caponi Decl. Ex A.


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       • failure or damage resulting from misuse, abuse, accident, modification, unsuitable
       physical or operating environment, natural disasters, power surges, improper
       maintenance, or use not in accordance with product information materials

       • damage caused by a non-authorized service provider”

       “THIS WARRANTY IS YOUR EXCLUSIVE WARRANTY AND REPLACES
       ALL OTHER WARRANTIES OR CONDITIONS, EXPRESS OR IMPLIED,
       INCLUDING, BUT NOT LIMITED TO, ANY IMPLIED WARRANTIES OR
       CONDITIONS OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR
       PURPOSE.” Caponi Decl., Ex A (emphasis in original).

       MacKay purchased his Flex 5 on August 30, 2017, so his Warranty expired on August

30, 2018. FAC ¶61. He sent his laptop to Lenovo for repair in June 2018, and again in January

2019—after his Warranty expired. Id. Lenovo repaired his laptop each time, but the screen

issues resumed. Id. MacKay contacted Lenovo in February 2019, but was told his Warranty

expired. Id. ¶65.

       Robinson purchased her Flex 5 on August 20, 2018, so her Warranty expired on August

20, 2019. Id. ¶67. Robinson alleges her display began flickering on February 10, 2020 (Id. ¶

20)—after her Warranty expired. She then waited until July 23, 2020 to contact Lenovo’s

customer support and was told her Warranty expired. Id. ¶71.

       Khetani purchased his Flex 5 on March 9, 2018, so his Warranty expired on March 9,

2019. Id. ¶75. He allegedly first experienced a flickering issue in June, 2019 (Id. ¶78)—after his

Warranty expired. He then waited until July 15, 2020 to contact Lenovo’s customer support (Id.

¶79), and was told on July 21, 2020 his Warranty expired (Id. ¶80).

       LaMarca purchased his Flex 5 on March 3, 2018, so his Warranty expired on March 3,

2019. Id. ¶84. LaMarca alleges his daughter reported a screen flickering issue to him in April

2019 (Id. ¶87)—after his Warranty expired. He then waited until July 2019 to call Lenovo’s

service line and was told that his Warranty expired. Id. ¶88.



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       Irvine purchased his Flex 5 on August 26, 2018, so his Warranty expired on August 26,

2019. Id. ¶91. He admits he never contacted Lenovo about screen issues. Id. ¶¶91-98. He oddly

alleges he “thought it would be fruitless” to notify Lenovo of the problem because it failed to

notice the issue by itself while remotely accessing his Flex 5 to address unrelated issues. Id.

       Eckert purchased his Flex 5 on August 18, 2018, so his Warranty expired on August 18,

2019. Id. ¶108. Eckert alleges his display began flickering four months after purchase (Id. ¶111),

but he waited until three days after his Warranty expired to contact Lenovo (Id. ¶112).

       Wang purchased his Flex 5 on August 10, 2017, so his Warranty expired on August 10,

2018. Id. ¶116. Wang alleges his screen began flickering in March 2020. Id. ¶ 118. He attempted

to call Lenovo’s support center at some unspecified time, but could not due to the COVID

pandemic, and was then told via online chat that his warranty expired. Id. ¶119.

       Urquiza purchased a used Flex 5 from Amazon, with a 90-day warranty from Amazon,

not Lenovo. Id. ¶99. By its terms, Lenovo’s Warranty did not apply to this altered, used, and

refurbished Flex 5. Even if it did, the Warranty would have expired one year after his July 30,

2018 purchase. Id. He alleges his display began flickering in April 2019 and he had two different

third parties repair it, but does not allege that either was an authorized Lenovo service provider.

Id. ¶¶103-104. At some unidentified time, he contacted Lenovo’s customer support “chat” and

was advised to call the support line, but never did. Id.

       C.      The Previously-Filed Gisairo Action

       On October 17, 2019, Plaintiffs’ counsel in this case filed the Gisairo Action against

Lenovo—the two actions are similar, assert the same breach of warranty and consumer

protection claims (albeit under different state’s laws), and Plaintiffs are members of the putative




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Gisairo class. Compare Caponi Decl. Exs. D & E5 with FAC; Caponi Decl. Ex. B & I. On

February 2, 2021, the Court granted in part Lenovo’s motion to dismiss the Amended Complaint

in the Gisairo Action, dismissing the Minnesota consumer protection, Minnesota deceptive trade

practices, and unjust enrichment claims. Caponi Decl. Ex. G. The plaintiff’s express and implied

warranty claims, which are nearly identical to the warranty claims here, remain. Id. Ex. D-G, I.

       D.      Plaintiffs File the Initial and Amended Complaints in This Action

       Despite being represented by the same counsel, his membership in the putative class in

the Gisairo Action, and the numerous defects in the complaint in that action, MacKay filed this

copycat action on August 28, 2020, three months after the Court held oral argument on Lenovo’s

motion to dismiss in the Gisairo Action. See generally FAC; Caponi Decl. Ex. B, D-F, I. After

Lenovo filed a motion to dismiss the initial Complaint, Plaintiffs filed the FAC adding 7

additional Plaintiffs and numerous additional claims, but failed to add specific allegations to

satisfy Rule 9(b). Plaintiffs’ actions—including filing this action despite the existence of the

Gisairo Action and waiting to add 7 additional Plaintiffs until after Lenovo moved to dismiss the

initial Complaint—have resulted in a waste of time and a substantial amount of resources.

III.   ARGUMENT

       A.      Legal Standard

       A Rule 12(b)(6) motion requires the court to review the complaint to determine whether

it states a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). In order to survive a

Rule 12(b)(6) motion, “a complaint must contain sufficient factual matter, accepted as true, to

‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)




5
 Lenovo requests judicial notice of Caponi Declaration Exhibits D through H not for the truth of
any statement therein, but for their existence See, e.g., S. Cross Overseas Agencies, Inc. v. Wah


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(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility

when the plaintiff pleads factual content sufficient for the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Id. Although the Court will assume the

truth of the well-pleaded factual allegations in the complaint, it will not assume the truth of legal

conclusions and conclusory statements. Iqbal, 556 U.S. at 678-79.

       B.      The FAC’s Consumer Protection Claims, Which All Sound in Fraud, Fail to
               Satisfy Rule 9(b)’s Heightened Pleading Standard and Otherwise Fail

       Rule 9(b) requires a plaintiff to plead fraud with particularity. Fed. R. Civ. P. 9(b). To

satisfy this standard, a plaintiff must include the details of the alleged fraud (whether by

misrepresentation or omission) such as the “who, what, when, where, and how” of the alleged

fraud. Kanter v. Barella, 489 F.3d 170, 175 (3d Cir. 2007).6

       Here, Plaintiffs’ Counts IV, V, VI, VII, IX, and X are all based on alleged fraudulent

conduct and omissions.7 Thus, Plaintiffs must satisfy Rule 9(b).8 This, they have not done.


Kwong Shipping Grp. Ltd., 181 F.3d 410, 426 (3d Cir. 1999); Juday v. Merck & Co Inc, 799 Fed.
App’x 137, 138 (3d Cir. 2020) (judicial notice of filings in suit involving one of the parties).
6
  See e.g., Swartz v. KPMG LLP, 476 F.3d 756, 765 (9th Cir. 2007).
7
  Plaintiffs cannot rely on general allegations regarding Lenovo’s marketing efforts (FAC ¶¶4-5,
24, 26, 29) because, like the initial Complaint, the FAC fails to allege which Plaintiff saw which
of the alleged representations, when they saw them, how it impacted their decision to purchase,
and what was seen and rendered misleading relating to non-parties alleged statements about
problems with Lenovo products. FAC ¶¶ 121-139.
8
  See, e.g., Martin v. Mead Johnson Nutrition Co., No. CIV A 09-11609, 2010 WL 3928707, at
*3 (D. Mass. Sept. 30, 2010) (applying Rule 9(b) to MCPL claim); see also, Frederico v. Home
Depot, 507 F.3d 188, 200 (3d Cir. 2007) (same as to NJCFA claim); Lindsley v. American
Honda Motor Co., Inc., No. CV 16-941, 2017 WL 2930962, at *8 (E.D. Pa. July 7, 2017) (same
as to PUTPCPL claim); Storey v. Attends Healthcare Prod., Inc., No. 15-CV-13577, 2016 WL
3125210, at *9 (E.D. Mich. June 3, 2016 (same as to MCPA claim); Fid. Mortg. Corp., v. Seattle
Times Co., 213 F.R.D. 573, 575 (W.D. Wash. 2003) (same as to WCPA claim); Stires v.
Carnival Corp., 243 F. Supp. 2d 1313, 1322 (M.D. Fla. 2002); Latimer v. Medtronic, Inc., et al.,
Sup. Ct. of Georgia, Fulton Cty., No. 2014-cv-24587, Order Grtg. Mot. to Dismiss Cmpl. at 23
n.7 (applying Rule 9(b) analog to GFBPA claim, consistent with Stires); Kearns v. Ford Motor
Co., 567 F.3d 1120, 1127 (9th Cir. 2009) (dismissing omissions-based claim under Rule 9(b));
Caponi Decl. Ex. H.


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               1.      Khetani’s GFBPA Claim (Count IV) Fails to Satisfy Rule 9(b) and he
                       Failed to Provide Statutory Notice

       Plaintiffs fail to satisfy Rule 9(b) as to the GFBPA claim. The FAC alleges in general

terms that Lenovo’s “practices, acts, policies, and course of conduct, including its omissions”

induced Khetani to purchase his Flex 5. FAC ¶190. It also alleges Khetani saw “Lenovo’s

primary representations of the laptop’s ability to turn into a tablet and that it had a touch screen”

and “the Flex 5’s good build quality, because of the metal material used.” Id. ¶76. This is not

enough. Plaintiffs have failed to allege when Khetani saw these representations, how they were

false, or how Khetani relied on them to his detriment. Id. ¶193(a)-(e). In fact, the FAC admits

that Lenovo’s “reputation,” and not any alleged misrepresentations, “led Mr. Khetani to purchase

the Flex 5 over competitor offerings.” Id. ¶76.

       Additionally, the FAC fails to allege, and Lenovo did not receive, the 30-day notice as

required by the GFBPA. See Ga. Code Ann. § 10-1-399(b). This is fatal to Count IV. See, e.g.,

Alvear v. Sandy Springs Toyota, Inc., 332 Ga. App. 798, 803 (2015) (affirming grant of summary

judgment on the grounds that plaintiff failed to provide notice required by section 10-1-399(b).)

       Further, Lenovo no longer sells the Flex 5, and so there is no practice to be stopped. See

Ga. Code Ann. § 10-1-391(a). As such, Count IV does not affect the public interest and is not

covered by the GFBPA. See Henderson v. Gandy, 280 Ga. 95, 96 (2005).

       For these reasons, Count IV should be dismissed with prejudice.

               2.      Eckert’s MCPL Claim (Count V) Fails to Satisfy Rule 9(b)

       Plaintiffs fail to satisfy Rule 9(b) as to the MCPL claim. Eckert allegedly purchased a

Flex 5 because he needed a traditional computer for his own use, but also one that could become

a tablet for his son’s use. FAC ¶110. He does not allege what, if any, misrepresentations he relied

on in purchasing his Flex 5, just that its hinge made it a suitable choice. Id. The FAC vaguely



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alleges that Lenovo represented the Flex 5 had characteristics or was of a standard, quality, or

grade that it was not (Id. ¶207(a)-(b)) and that Lenovo misled Eckert by “intentionally and

knowingly misreprent[ing] material facts.” Id. ¶208. Nowhere does the FAC state what these

specific misrepresentations were, when Eckert saw them, or how he relied on them. As such,

Count V should be dismissed with prejudice.

              3.      Robinson’s MCPA Claim (Count VI) Fails to Satisfy Rule 9(b) and She
                      Purchased her Flex 5 for a Business Purpose

        Plaintiffs fail to satisfy Rule 9(b) as to the MCPA claim. See Mayhall v. A.H. Pond. Co.,

Inc., 129 Mich. App. 178, 182 (1983). Instead, Robinson relies on vague allegations that Lenovo

“misrepresented the standard, quality or grade of the [Flex 5]” (FAC¶ 220) and “misrepresented

and omitted facts regarding the defective displays” (Id. ¶223). Robinson fails to specify what

these alleged misrepresentations were, when she saw them, or how they impacted her decision to

purchase. Indeed, the only pre-purchase “representation” Robinson alleges she saw was that it

was a 2-in-1 device. Id. ¶67. Importantly, Robinson does not allege when or where she saw this

“representation,” that it was made by Lenovo, or how it was false. Moreover, Robinson admits

she purchased the Flex 5, rather than a competitor’s product, because she could split up

payments. Id. ¶68. Robinson also purchased her Flex 5 for business purposes (Id. ¶¶34, 73),

which is not covered by the MCPA. Slobin v. Henry Ford Health Care, 469 Mich. 211, 216

(2003). For these reasons, Count VI should be dismissed with prejudice.

              4.      Wang’s NJCFA Claim (Count VII) Fails to Satisfy Rule 9(b)

       Plaintiffs fail to satisfy Rule 9(b) as to the NJCFA claim. The FAC fails to allege what, if

any, specific misrepresentations Wang saw and relied on in purchasing a Flex 5. FAC ¶¶116-

120. Instead, Wang relies on general allegations, such as that he was “drawn to the device for

being a cost-effective option,” that “[t]he device’s 2-in-1 functionality also informed [his]



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purchasing decision,” and that he “saw the device’s screen could rotate 360°.” Id. ¶116. He fails

to allege when he saw these “representations,” who made them, how they were false, or how they

impacted his actions. Id. ¶¶116-120. As such, Count VII should be dismissed with prejudice.

               5.      LaMarca’s PUTPCPL Claim (Count IX) Fails to Satisfy Rule 9(b)

       LaMarca alleges that Lenovo violated four (4) sections of the PUTPCP. The first three of

these are based on alleged misrepresentations, sound in fraud, and are subject to Rule 9(b). See

Coleman v. Commonwealth Land Title Ins. Co., 684 F. Supp. 2d 595, 619 (E.D. Pa. 2010); see

Rubenstein v. Dovenmuehle Mortg., Inc., No. CIV.A.09-721, 2009 WL 3467769, at *5 (E.D. Pa.

Oct. 28, 2009) (requiring fraud claims under PUTPCPL to satisfy Rule 9(b).). The fourth

allegation as to section (xxi) is based on the same allegations (or lack thereof) so also sounds in

fraud, however even if it is based on “deceptive practices,” LaMarca is still required to allege

facts sufficient to show a deceptive act, intentionally giving a false impression, that is likely to

deceive a reasonable consumer. Rubenstein, 2009 WL 3467769, at *6; see also Lindsley v. Am.

Honda Motor Co., Inc., No. CV 16-941, 2017 WL 2930962, at *8 (E.D. Pa. July 7, 2017).

       The only “representation” LaMarca alleges he saw is that “the Flex 5 was able to be used

in laptop mode, tent mode, presentation mode, and tablet mode.” FAC ¶86. LaMarca thereafter

relies on vague allegations, that Lenovo made “affirmative misrepresentations” (Id. ¶273) and

“knowing[] misrepresent[ations] [of] material facts” (Id. ¶270). LaMarca does not specify when

he saw these alleged representations, how they were false, and how he relied on them, thus

failing to satisfy Rule 9(b). As such, Count IX should be dismissed with prejudice.

               6.      MacKay’s WCPA Claim (Count X) Fails to Satisfy Rule 9(b)

       Plaintiffs fail to plead facts to satisfy Rule 9(b) as to the WCPA claim. The FAC alleges

generally that MacKay “saw or heard” representations “prior to purchasing” his Flex 5, but does




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not identify what those specific representations were, how they were false, and how he relied on

them to his detriment. FAC ¶¶7, 8, 61. MacKay also makes vague allegations that are either

undated, unrelated to the Flex 5, or dated after he bought his Flex 5 in August 2017.9 Id. ¶¶4, n.1,

5, n. 2. This is simply not enough.10 As such, Count X should be dismissed with prejudice.

               7.      Urquiza’s New York General Business Law (“NYGBL”) Claim Fails

       To succeed on a claim for deceptive acts or practices in the conduct of business under

NYGBL Law Section 349, a plaintiff must show that: (1) the challenged act or practice was

consumer-oriented; (2) it was misleading in a material way; and (3) plaintiff suffered injury as a

result of the deceptive act. Stutman v. Chem. Bank, 95 N.Y.2d 24, 29 (2000). The NYGBL is

limited in scope and applies only to deceptive acts “likely to mislead a reasonable consumer

acting reasonably under the circumstances.” Oswego Laborers' Loc. 214 Pension Fund v. Marine

Midland Bank, N.A., 85 N.Y.2d 20, 26 (1995). Urquiza has failed to make such allegations.

       Urquiza fails to allege any representations or omissions by Lenovo, or that his purchase

of a refurbished Flex 5 falls within the scope of NYGBL. Urquiza alleges generally that he saw

advertisements (images of the Flex 5 in different positions) and reviews by third parties, on third

party websites. FAC ¶100-101. Even if Urquiza alleged Lenovo had made these representations

(which he does not) there is no explanation as to why they were “likely to mislead a reasonable

consumer,” particularly one purchasing an admittedly altered Lenovo product.

       The FAC’s remaining allegations are so vague they fail to adequately allege any

deceptive acts. For example, Urquiza generally alleges that Lenovo “concealed or suppressed




9
 See, e.g., Anderson v. Apple, Inc., No. 3:20-cv-02328-WHO, 2020 U.S. Dist. LEXIS 214085, at
*50 (N.D. Cal. Nov. 16, 2020) (“[a] plaintiff who never sees the partial misrepresentation has not
been misled.”).


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material facts concerning the Defect affecting the displays of the Class Laptops,” but fails to

allege how Lenovo’s actual representations or omissions were misleading to a reasonable

consumer. FAC ¶252. In fact, it is unclear if Urquiza ever checked with Lenovo to determine if

the alleged third-party representations were complete and accurate or that they applied to a used

Flex 5. Id. ¶¶99-107, 248-260. For these reasons, Count VIII should be dismissed with prejudice.

       C.      The Purported Statements at Issue Are Nonactionable Puffery.

       Even if Plaintiffs had satisfied Rule 9(b) and the state statutes (they have not), Counts IV-

X still fail because they rely solely on nonactionable puffery. 11 Puffery includes “exaggerated,

blustering, and/or boastful statements on which no reasonably buyer would be justified in

relying” and “general claims of superiority over comparable products that are so vague they

cannot be understood as anything more than mere opinions.” Hydro-Bloc USA LLC v. Wedi

Corp., No. C15-671-TSZ, 2019 U.S. Dist. LEXIS 101909, at *15 (W.D. Wash. June 18, 2019).

       The alleged statements regarding the Flex 5 that Plaintiffs do mention in the FAC

(without actually alleging when, if at all, they saw such statements, or how they relied on them to

their detriment) are precisely the kind of nonactionable puffery that cannot form the basis for a


10
   See, e.g., Benanav v. Healthy Paws Pet Ins., LLC, No. C20-421-RSM, 2020 U.S. Dist. LEXIS
191497, at *17 (W.D. Wash. Oct. 15, 2020) (dismissing WCPA claim where “vague wording”
made it unclear which of the alleged pre-purchase “misrepresentations they were exposed to”).
11
   See Babb v. Regal Marine Indus., No. 43934-4-II, 2014 Wash. LEXIS 394, at *8 (Wash. Ct.
App. Feb. 20, 2014) (dismissing WCPA claim based on puffery); see also Vitt v. Apple
Computer, Inc., 469 F. App’x 605, 607 (9th Cir. 2012) (puffery non-actionable under
California’s consumer protection law); Lynas v. Williams, 216 Ga. App. 434, 437 (1995) (same
as to GFPBA); Mulder v. Kohl’s Department Stores, Inc., 865 F.3d 17, 22 n.5 (same as to
MCPL); Louisiana-Pac. Corp. v. James Hardie Bldg. Prod., Inc., 928 F.3d 514, 519 (6th Cir.
2019) (“Puffery protects statements that reasonable consumers would not interpret as reliably
factual.”); Tatum v. Chrysler Grp. LLC., No. 10-CV-4269 DMC JAD, 2011 WL 1253847, at *4
(D.N.J. Mar. 28, 2011) (statement that car was durable and reliable was puffery); George v.
Starbucks Corp., No. 19-CV-6185 (AJN), 2020 WL 6802955, at *2 (S.D.N.Y. Nov. 19, 2020)
(dismissing NYGBL claim based on puffery); Fusco v. Uber Techs., Inc., No. CV 17-00036,
2018 WL 3618232, at *7 (E.D. Pa. July 27, 2018) (dismissing PUTPCPL based on puffery).


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consumer protection claim. These statements fall into a few categories: that the Flex 5 had (1) a

“durable” and “versatile 360-degree hinge”; (2) that allowed users to find the “perfect viewing

angle”; and (3) could “easily flip into tablet mode . . . [and] tent mode.”12 FAC ¶¶4, 51.

       The first statement regarding the “durability” and “versatility” of the Flex 5 is puffery

because its truth or falsity cannot be precisely determined. See, e.g., Vitt, 469 Fed. App'x at 607

(statements that laptops were “durable,” reliable,” “high performance,” and “high value,” were

“inherently vague”). Similarly, the second statements—that users could find the “perfect viewing

angle” or view the screen “from nearly every angle—are subjective and vague statements that

depend on an individual’s interpretation.13 The third statement—that the Flex 5 could “easily flip

into tablet mode . . . [and] tent mode”—is too subjective and immeasurable to be actionable.14

Indeed, terms such as “easier/easiest” are “[s]uch vague and general comments [that] fall

squarely within the definition of ‘puffery.’” See, e.g., Hydro-Bloc, 2019 U.S. Dist. LEXIS, at 18.

Accordingly, for this additional reason, Counts IV-X should be dismissed with prejudice.

       D.      Plaintiffs’ Claim for Breach of Express Warranty (Count XII) Fails

               1.      Plaintiffs have not adequately pleaded facts showing unconscionability.

       Plaintiffs admit their laptops were out-of-warranty, but insist the Warranty was

nonetheless breached based on conclusory allegations of unconscionability. FAC ¶ 303-305. Not

so. Procedural unconscionability focuses on “the manner in which the contract was entered,



12
   The allegations regarding the Yoga 730 are irrelevant given that Plaintiffs did not purchase
this product and, thus, could not have relied on misrepresentations and omissions based thereon.
13
   Superlative statements such as “perfect” and “best” are consistently held to be puffery because
they are not verifiable. See, e.g., Vitt, 469 F. App'x at 607 (“ideal student laptop” was puffery);
see also Hydro-Blok, 2019 U.S. Dist. LEXIS 101909, at *15 (“best technology” was puffery);
Nat’l Prods. v. Gamber-Johnson LLC, 699 F. Supp. 2d 1232, 1240 (W.D. Wash. Mar. 15, 2010)
(product “offers the best chance at deterring theft” was puffery); United States v. Pearlstein, 576
F.2d 531, 540 n. 3 (3d Cir. 1978) (nationally known and product was “finest” was mere puffing).


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whether each party had a reasonable opportunity to understand the terms of the contract, and

whether the important terms [were] hidden in a maze of fine print,” (M.A. Mortenson Co., Inc. v.

Timberline Soft. Corp., 998 P.2d 305, 315 (Wash. 2000) (citations omitted)), while substantive

unconscionability focuses on unfairness that shocks the conscience or is “monstrously harsh and

exceedingly calloused,” Torgerson, 210 P.3d at 322 (citations omitted).15 Lenovo’s industry-

standard Warranty is neither procedurally nor substantively unconscionable.

       Plaintiffs fail to allege facts showing procedural unconscionability. Plaintiffs do not

allege they were compelled to purchase a Flex 5 or that they could not have chosen to extend the

Warranty.16 In fact, Plaintiffs allege just the opposite—they researched the Flex 5 (FAC ¶¶61,

76, 100), took their time considering other options (Id. ¶¶68, 76, 86, 92, 101), and ultimately

chose the Flex 5 because they believed it would suit their respective needs (Id. ¶¶61, 67-68, 76,

86, 92, 101, 110, 116). Given that Lenovo’s Warranty is widely available (including on its

website), it is implausible that Plaintiffs did not know about it and had no meaningful choice.

       Plaintiffs also fail to allege substantive unconscionability. The allegation that “Lenovo

knew or should have known that the Class Laptops were defective at the time of sale and would

fail well before their useful lives” is insufficient without more, such as changing the warranty to



14
   See, e.g., O&R Constr., LLC v. Dun & Bradstreet Credibility Corp., No. C12-2184-TSZ, 2017
U.S. Dist. LEXIS 210372, at *16 (W.D. Wash. Dec. 21, 2017) (subjective statement is puffery).
15
   See also Sanchez v. Valencia Holding Co., LLC, 61 Cal.4th 899, 910 (2015); Clark v. Aaron’s,
Inc., 914 F. Supp. 2d 1301, 1310-11 (N.D. Ga. 2012); Zapatha v. Dairy Mart, Inc., 381 Mass.
284, 294 n.13 (1980); Johnson v. Mobil Oil Corp., 415 F. Supp. 264, 268 (E.D. Mich. 1976);
Sitogum Holdings, Inc. v. Ropes, 352 N.J.Super. 555, 564 (Ch. Div. 2002); Sablosky v. Gordon
Co., 73 N.Y.2d 133, 138-39 (1989); Martin v. Delaware Title Loans, Inc., No. CIV.A. 08-3322,
2008 WL 4443021, at *3 (E.D. Pa. Oct. 1, 2008).
16
   See, e.g. Berenblat v. Apple, Inc., No. 09-1649-JF, 2010 U.S. Dist. LEXIS 46052, at *14-15
(N.D. Cal. Apr. 7, 2010) (no unconscionability where consumers could buy laptops from other
sellers or buy additional warranty); Beaty v. Ford Motor Co., No. C17-5201RLB, 2018 U.S.
Dist. LEXIS 6848, at *6 (W.D. Wash. Jan. 6, 2018) (same).


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avoid covering the defect.17 Id. ¶306. Further, as argued above, the facts allegedly showing

knowledge (i.e., unverified online complaints) are dated after Plaintiffs’ purchases. Id. ¶¶121-

132. Plaintiffs also fail to allege facts showing that the purported defect would manifest only

after the warranty period.18 It is well-settled, that the mere “fact that the warranties on the

products would eventually expire does not render them unconscionable.” Kozol v. JPay, inc., 1

Wash. App. 2d 1050, 2017 WL 6452422 at *4 (Dec. 18, 2017).

       The court’s decision in M.A. Mortenson Co., Inc. v. Timberline Software Corp. is

instructive. In that case, the court held that the limitations of remedies provision in a shrinkwrap

license included with computer software was not substantively unconscionable. 93 Wash. App.

at 836-837. The court concluded that the limitations of remedies provision were standard in the

industry and helped make the software more affordable. Id. The same is true here. Lenovo’s

Warranty terms have remained unchanged for years,19 and are standard in the industry.20 In fact,


17
    See, e.g., Millman v. FCA U.S., LLC, No. SACV 18-06686 JVS, 2018 U.S. Dist. LEXIS
226613, at *17-18 (C.D. Cal. Aug. 30, 2018) (allegation that defendant “knew or should have
known that the Class Vehicles were defective at the time of sale and that the wiring systems
would fail well before their useful lives” did not show unconscionability); Gotthelf v. Toyota
Motor Sales, U.S.A., In., 525 Fed. Appx. 94, 104 (3d Cir. 2013) (no factual allegation showing
knowledge and concealment of defect); Davidson v. Apple, Inc., No. 16-CV-4942-LHK, 2017
U.S. Dist. LEXIS 116436, at *76-77 (N.D. Cal. July 25, 2017) (allegation that defendant knew of
defect did not render one-year warranty unconscionable); Ponzio v. Mercedes-Benz USA, LLC,
No. 18-12544, 2020 U.S. Dist. LEXIS 43287, at *122 (D. N.J. Mar. 11, 2020) (“[M]erely
alleging that a defendant knew of a defect, and knew that defect would arise after the time
limitations of a warranty, but concealed that information, without more, fails to establish
unconscionability.”) (emphasis in original).
18
   See, e.g., Fisher v. Honda N. Am., Inc., No. 13-cv-09285-JAK, 2014 U.S. Dist. LEXIS 84570,
at *24-25 (C.D. Cal. June 12, 2014) (no unconscionability where no showing defect would
manifest only after warranty period).
19
   The following link is the page that lists the limited warranty down load link in the FAC,
https://support.lenovo.com/us/en/solutions/ht100140.
20
   This language is commonplace in the industry for two-in-one laptops. See, e.g.,
https://www.samsung.com/us/support/service/warranty/XE500C13-K02US (limited one-year
warranty for Samsung Chromebook); https://support.microsoft.com/en-us/help/4493662 (limited
one-year warranty for Microsoft Surface).


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nearly identical warranty language has been upheld against unconscionability challenges by

other courts.21 As such, Count XII should be dismissed with prejudice.

               2.      Lenovo’s Warranty does not fail its essential purpose.

       The vague assertion that the Warranty “fails of its essential purpose” because Lenovo did

not repair Plaintiffs’ laptops also misses the mark. FAC ¶307. It is well-settled that where “there

are alternative exclusive limited remedies, such as repair or refund, the exclusive remedies” do

not “fail of their essential purposes, although there was a failure to repair or replace the defective

parts.” Am. Nursery Prods. v. Indian Wells Orchards, 115 Wn.2d 217, 229 (Wash. 1990).22

       For instance, in Marr Enterprises, Inc. v. Lewis Refrigeration Co., the warranty provided

that “if the seller did not replace the defective parts, the purchaser was entitled to refund of the

purchase price.” 556 F.2d 951, 955 (9th Cir. 1977). Because the warranty provided alternate

remedies of replace or refund, the court held that “mere failure to replace or repair” did not cause

the warranty to fail its essential purpose because the remedy of a refund remained available. Id.

       Here, as in Marr, the Warranty provided that if Lenovo “is unable to either repair or

replace your product, your sole remedy under the Limited Warranty is to return the product . . .

for a refund of your purchase price.” Caponi Decl., Ex. A. MacKay is the only Plaintiff who


21
   See, e.g., Midwest Printing v. AM Int’l, 108 F.3d 168, 171 (8th Cir. 1997) (concluding
disclaimer with nearly identical language and formatting as Lenovo “complies with requirements
of Mo. Rev. Stat. 400.2-316(2)” and disclaimed all implied warranties); see also Popham v.
Keystone RV Co., No. 3:15-cv-197-TLS, 2016 WL 4993393, at *7-8 (N.D. In. Sept. 19, 2016);
Meserole v. Sony Corp. of Am., Inc., No. 08 CV 8987 (RPP), 2009 WL 140393, at *5-8
(S.D.N.Y. May 18, 2009); Brothers v. Hewlett-Packard Co., No. C-06-02254 RMW, 2006 WL
3093685, at *8 (N.D. Cal. Oct. 31, 2006); Cooper v. Samsung Elecs. Am., Inc., No. CIV.A.07-
3853 JLL, 2008 WL 4513924, at *4 (D.N.J. Sept. 30, 2008), aff'd, 374 F. App'x 250 (3d Cir.
2010) (rejecting unconscionability challenge to one-year warranty no timely coverage sought).
22
   See also, The Law of Product Warranties, para. 8.04 at 8-60 (“[T]he backup remedy does not
fail of its essential purpose even though the front-line remedy does.”); Garden State Food
Distributors, Inc. v. Sperry Rand Corp., Sperry Univac Division, 512 F. Supp. 975, 978 (D.N.J.
1981) (contractual limited remedy did not fail where a backup remedy existed).


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alleges he sent his Flex 5 to Lenovo prior to the expiration of his Warranty. FAC ¶¶63-64.

Importantly, Lenovo repaired that device and MacKay does not allege that the issues arose again

before the Warranty expired or that he ever pursued the alternative remedy of a refund. As such,

the Warranty did not fail of its essential purpose. As none of the remaining Plaintiffs allege they

attempted to use their Warranty before it expired, this argument fails. Plaintiffs also do not

allege facts showing the defects manifested under normal use of the laptop.

       Finally, as discussed above, Urquiza cannot recover on the express warranty because it

did not apply to his used, refurbished Flex 5 and, thus, his claim fails for this additional reason.

       E.      Plaintiffs’ Claim for Breach of Implied Warranty Fails as to Certain States

       Lenovo has adequately disclaimed the implied warranty of merchantability under

Georgia, Michigan, New Jersey, New York, and Pennsylvania law and, thus, Plaintiffs’ claim for

its breach (Count XI) fails. Each of these states allows disclaimers of the implied warranty of

merchantability if the disclaimer is conspicuous and mentions merchantability.23 Lenovo’s

disclaimer clearly satisfies this requirement—it is conspicuously included near the top of the first

page of the Warranty, set off from all other text, bolded and capitalized, and explicitly disclaims

any implied warranties or conditions of merchantability or fitness for a particular purpose. See

section II.B above. In fact, courts in each of these states have enforced substantially similar

disclaimers.24 Furthermore, as discussed in Section III.D. Lenovo’s disclaimer of the implied


23
   See Ga. Code Ann. § 11-2-316(2); see also Mich. Comp. Laws § 440.2316(2); N.J.S.A. 12A:2-
316(2); NY UCC § 2-316(2); 13 Pa.C.S.A. § 2316(b).
24
   See, e.g., Tri-State Consumer Ins. Co. v. LexisNexis Risk Sols. Inc., 823 F. Supp. 2d 1306,
1324 (N.D. Ga. 2011) (rejecting implied warranty claims based on disclaimer similar to
Lenovo’s Warranty); see also Carrigg v. Gen. R.V. Ctr., Inc., 421 F. Supp. 3d 480, 490 (E.D.
Mich. 2019) (same); Hillsborough Rare Coins, LLC v. ADT LLC, No. CV 16-916 (MLC), 2017
WL 1731695, at *8 (D.N.J. May 2, 2017); Maltz v. Union Carbide Chemicals & Plastics Co.,
992 F. Supp. 286, 304 (S.D.N.Y. 1998) (same); U. S. Leasing Corp. v. Stephenson Equip., Inc.,
230 Pa. Super. 181, 182-83 (1974) (same).


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warranties was not unconscionable. Additionally, Urquiza cannot avail himself of the implied

warranty because he purchased his device from a third-party who altered it. Lenovo is not

responsible for the altered product. As such, Count XI should be dismissed with prejudice.

       F.      Plaintiffs’ Claim for Unjust Enrichment/Restitution (Count XIII) Fails

       This claim fails for the same reason that the Court in Gisairo dismissed the identical

unjust enrichment claim—it is undisputed that a contractual warranty governs the relationship

between Plaintiff and Lenovo. Where a valid express contract exists—here, the Warranty—the

law prohibits a party to the contract from bringing unjust enrichment claims arising out of the

contract’s subject matter.25 Thus, because Plaintiffs have affirmed the Warranty by suing for its

breach, and have failed to mount a plausible challenge to its limitations, their unjust enrichment

claims fail, and Count XIII should be dismissed with prejudice.

       Count XIII additionally fails as to the California Subclass because, “there is no cause of

action in California for unjust enrichment.” Levine v. Blue Shield of California, 189 Cal. App.

4th 1117, 1138 (2010) (citation omitted). If framed as a claim for quasi-contract, such claim is

barred by the two-year statute of limitations, because Irvine both purchased and first noticed

defects in his Flex 5 more than two years before the FAC was filed. See Cal. Code Civ. Proc.

§339(1); see Wu v. Sunrider Corp., 793 F. App'x 507, 510 (9th Cir. 2019).

       G.      Irvine’s Remaining California Claims (Counts II-III) Fail

25
   See Minnick v. Clearwire US, LLC, 683 F. Supp. 2d 1179, 1186 (W.D. Wash. 2010) (no unjust
enrichment claim if valid contract as to WA); see also, California Med. Ass'n, Inc. v. Aetna U.S.
Healthcare of California, Inc., 94 Cal. App. 4th 151, 172, 114 Cal. Rptr. 2d 109 (2001) (same as
to CA); Brooks v. Branch Banking & Tr. Co., 107 F. Supp. 3d 1290, 1298 (N.D. Ga. 2015) (same
as to GA); Ruiz v. Bally Total Fitness Holding Corp., 447 F. Supp. 2d 23, 29 (D. Mass. 2006),
aff'd, 496 F.3d 1 (1st Cir. 2007) (same as to MA.); Martin v. E. Lansing Sch. Dist., 193 Mich.
App. 166, 177 (1992) (same as to MI); Dunham v. Wells Fargo Bank, No. 18CV08995PGSDEA,
2019 WL 9657790, at *4 (D.N.J. Nov. 6, 2019) (same as to NJ); Linares v. Richards, No. 08-
CV-3243 (RRM), 2011 WL 13295120, at *12 (E.D.N.Y. June 23, 2011) (same as to NY); Wilson
Area Sch. Dist. v. Skepton, 586 Pa. 513, 520 (2006) (same as to PA).


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        To establish a claim under the Song-Beverly Consumer Warranty Act (Count II), Irvine

must show his Flex 5: (1) had a defect covered by the Warranty; (2) was presented to Lenovo for

repair; and (3) was not repaired after a reasonable number of attempts. Robertson v. Fleetwood

Travel Trailers of California, Inc., 144 Cal. App. 4th 785, 798-99 (2006).26

       The FAC fails to allege that Lenovo was provided a single opportunity to service or

repair Irvine’s laptop to address the alleged screen flickering, let alone “a reasonable number of

attempts.” FAC¶¶91-98. Irvine alleges that Lenovo remotely connected with his Flex 5 to

address certain issues, “none of which were related to … the screen flicker.” FAC ¶95. Irvine

admits that, “because these remote sessions neither detected nor fixed the screen flicker defect,”

he “thought it would be fruitless to contact Lenovo over the phone.” FAC ¶95. Because Irvine

never told Lenovo about the screen flicker defect, Count II should be dismissed with prejudice.

       Irvine’s parasitic UCL claim (Count III) fails for the same reasons stated above.

       H.      Plaintiffs Lack Standing on Claims Relating to the Yoga 730

       All of Plaintiffs’ claims relating to the Yoga 730 fail as a matter of law for lack of

standing. No Plaintiff purchased a Yoga 730, and therefore they cannot establish damages related

to that product. Based on this undisputed fact, Plaintiffs cannot rely on alleged

misrepresentations, defects, and warranty claims related to this product. 27 Whether for lack of

standing or a lack of sufficient factual allegations on each of their claims it is clear that each of

their claims must fail as to the Yoga 730.

       I.      The Court Should Dismiss this Action under the First-Filed Rule

       The “first-filed” rule allows “trial judges to exercise their discretion by enjoining the



26
  See also Cal. Civ. Code § 1793.2(d)(1); Silvio v. Ford Motor Co., 109 Cal. App. 4th 1205,
1207-08 (2003) (recognizing that “‘[a]ttempts’ is plural.”)


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subsequent prosecution of similar cases . . . in different federal courts.” E.E.O.C. v. Univ. Of

Pennsylvania, 850 F.2d 969, 971 (3d Cir. 1988). The rule is applicable in class actions filed by

different named plaintiffs against the same defendant. MacLean v. Wipro Ltd., No. 20-3414

(FLW), 2020 U.S. Dist. LEXIS 227886, at *19 (D. N.J. Dec. 4, 2020). Courts look at the

chronology of the actions and overlapping subject matter, issues, claims, and parties. Id. The rule

permits dismissal of a duplicative later-filed action with prejudice when there is “[b]latant forum

shopping or gamesmanship[.]” Chavez v. Dole Food Co., 836 F.3d 205, 221 (3d Cir. 2016).

       The Court should dismiss this action under the First-Filed Rule. First, the Gisairo Action

was filed on October 17, 2019, and this action was filed on August 28, 2020. Caponi Decl. Exs.

D, F. Second, the two actions have overlapping subject matter—the operative complaints involve

the same conduct by the same Defendant (Lenovo), on behalf of an overlapping putative class of

consumers (who allegedly purchased either a Flex 5 or Yoga 730), seeking the same relief for the

same or analogous claims. See, e.g., FAC ¶¶2, 4-5; Caponi Decl. Ex. D (Compl., ¶¶2, 4-5), Ex.

E. Third, the claims in the two actions seek the same relief on claims for breach of express and

implied warranty, consumer protection, and unjust enrichment, and thus substantially overlap. 28

Finally, Plaintiffs in this action are members of the Gisairo nationwide class and will have their

interests included in that litigation.29 Accordingly, the FAC should be dismissed in its entirety.

IV.    CONCLUSION

       For all of the foregoing reasons, Lenovo respectfully requests the Motion be granted.




27
   See e.g., Semeran v. Blackberry Corp., No. 2:15-CV-00750-SDW-LDW, 2016 U.S. Dist.
LEXIS 11864, at *10 (D. N.J. Feb. 2, 2016) (no standing as to unpurchased cell phone models).
28
   “[E]xact identity of claims is not required.” Catanese v. Unilever, 774 F. Supp. 2d 684, 687-
88 (D.N.J. 2011)
29
   The classes, not class representatives, are compared. Catanese, 774 F. Supp. 2d at 688.


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